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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


IN RE GENERAL ELECTRIC COMPANY                    Case No. 18-CV-03355-JMF
FEDERAL SHAREHOLDER DERIVATIVE
LITIGATION



                       STIPULATION AND [PROPOSED] ORDER
                        VOLUNTARILY DISMISSING ACTION

       Pursuant to Rules 23.1(c) and 41(a) of the Federal Rules of Civil Procedure, plaintiffs

Malka Raul (“Raul”), Edward Tansey (“Tansey”), and Henry Zwang (“Zwang,” and collectively

with Raul and Tansey, “Plaintiffs”), together with nominal defendant General Electric Company

(“GE”) and defendants Sébastien M. Bazin, W. Geoffrey Beattie, Jeffrey S. Bornstein, John J.

Brennan, James I. Cash, Jr., Francisco D’Souza, Marijn E. Dekkers, John J. Flannery, Edward P.

Garden, Peter B. Henry, Susan J. Hockfield, Jeffrey R. Immelt, Andrea Jung, Robert W. Lane,

Risa Lavizzo-Mourey, Rochelle B. Lazarus, Lowell C. McAdam, Jamie S. Miller, Steven M.

Mollenkopf, James J. Mulva, James E. Rohr, Mary L. Schapiro, Keith S. Sherin, Robert J.

Swieringa, James S. Tisch and Douglas A. Warner III (collectively, “Defendants”), by and

through their respective counsel, hereby stipulate and agree to the voluntary dismissal of the

above-entitled consolidated action (the “Action”) as follows:

       WHEREAS, on April 17, 2018, plaintiff Raul filed a derivative action on behalf of GE,

case number 1:18-cv-03355 (the “Raul Action”);

       WHEREAS, on May 17, 2018, plaintiff Tansey filed a derivative action on behalf of GE,

case number 1:18-cv-04408 (the “Tansey Action”);

       WHEREAS, on May 30, 2018, plaintiff Zwang filed a derivative action on behalf of GE,

case number 1:18-cv-04746 (the “Zwang Action”);




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       WHEREAS, on June 5, 2018, the Raul Action, the Tansey Action, and the Zwang Action

were consolidated under the caption In re General Electric Company Federal Shareholder

Derivative Litigation, case number 1:18-cv-03355 (ECF No. 60);

       WHEREAS, on July 19, 2018, Plaintiffs filed their Verified Consolidated Derivative

Complaint for Violation of Securities Law, Breach of Fiduciary Duty, Waste of Corporate

Assets, and Unjust Enrichment (ECF No. 64) (the “Consolidated Complaint”);

       WHEREAS, on August 17, 2018, GE and Defendants filed a motion to dismiss the

Consolidated Complaint (ECF No. 67);

       WHEREAS, on August 20, 2018, the Court entered an Order setting a deadline of

September 7, 2018 for Plaintiffs to file any amended complaint in response to GE and

Defendants’ motion to dismiss pursuant to Rule 15(a)(1)(B) of the Federal Rules of Civil

Procedure (ECF No. 70);

       WHEREAS, on September 7, 2018, Plaintiffs filed a Verified Amended Consolidated

Derivative Complaint for Violation of Securities Law, Breach of Fiduciary Duty, Waste of

Corporate Assets, and Unjust Enrichment (the “Amended Consolidated Complaint”) (ECF No.

71);

       WHEREAS, on September 21, 2018, GE and Defendants filed a motion to dismiss the

Amended Consolidated Complaint (ECF No. 73);

       WHEREAS, Plaintiffs now seek to voluntarily dismiss this Action with prejudice as to

Plaintiffs with respect to their contention that a pre-suit demand on GE’s board of directors is

excused and without prejudice as to the underlying claims Plaintiffs purported to assert in the

Action on behalf of GE, with each party to bear their own costs and fees; and




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       WHEREAS, Plaintiffs respectfully submit that notice of their voluntary dismissal of this

Action pursuant to Rule 23.1(c) of the Federal Rules of Civil Procedure is not necessary to

protect the interests of GE and its shareholders because: (i) Plaintiffs seek dismissal with

prejudice only as to these Plaintiffs with respect to their contention that a pre-suit demand on

GE’s board of directors is excused and without prejudice as to the underlying claims Plaintiffs

purported to assert in the Action on behalf of GE; (ii) there has been no settlement or

compromise between the parties to this Action and no claims that Plaintiffs purported to assert in

the Action on behalf of GE have been settled, compromised or released; (iii) there has been no

collusion among the parties; and (iv) Plaintiffs and their counsel have not received (and will not

receive) any compensation or consideration from GE or Defendants in connection with the

voluntary dismissal of this Action;

       THEREFORE, IT IS HEREBY STIPULATED AND REQUESTED by the parties,

through their undersigned counsel of record and subject to the Court's approval, as follows:

       1.       This Action is dismissed with prejudice as to Plaintiffs with respect to their

contention that a pre-suit demand on GE’s board of directors is excused and without prejudice to

the underlying claims Plaintiffs purported to assert in the Action on behalf of GE;

       2.       Notice pursuant to Rule 23.1(c) of the Federal Rules of Civil Procedure is not

required; and

       3.       Each party shall bear their respective attorneys’ fees and costs incurred in

connection herewith.


Respectfully submitted this 16th day of October, 2018.




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s/ Jenny L. Dixon                           s/ Greg A. Danilow (w/ permission)
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Co-Lead Counsel for Plaintiffs
                                            SO ORDERED. The Clerk of Court is directed to close
LAW OFFICES OF THOMAS G.                    this case.
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                                                                 October 18, 2018
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